                  UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Kenny Velazquez
                                          Case No.: 1-18-01402 HWV

                                                           Chapter 13
                     Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  Midfirst
 Court Claim Number:             08
 Last Four of Loan Number:       6000
 Property Address if applicable: 30 W Queen St

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.     Allowed prepetition arrearages:                                      $7,402.20
 b.     Prepetition arrearages paid by the trustee:                          $7,402.20
 c.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c):
 d.     Amount of postpetition fees, expenses, and charges                   $0.00
        recoverable under Bankruptcy Rule 3002.1(c) and paid
        by the trustee:
 e.     Allowed postpetition arrearage:                                      $5,010.67
 f.     Postpetition arrearage paid by the trustee:                          $5,010.67
 g.     Total b, d, and f:                                                   $12,412.87

 PART 3: POSTPETITION MORTGAGE PAYMENT
  Mortgage was paid through the Trustee
  from Dec 2018 through April 2025
  Current monthly mortgage payment:      $810.30
  The next post-petition payment was due
  on:                                    May 2025

PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs




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and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.

To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Date: June 24, 2025                                    Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Re: Kenny Velazquez
                                                            Case No.: 1-18-01402 HWV

                                                            Chapter 13
                     Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on June 24, 2025, I served a copy of this
Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
unless served electronically.

  Served Electronically
  Nicholas G. Platt, Esquire
  Mooney Law
  230 York St
  Hanover PA 17331


  Served by First Class Mail
  Midfirst Bank
  999 NW Grand Blvd Suite 100
  Oklahoma City OK 73118


  Kenny Velazquez
  30 W Queen St
  Annville PA 17003



  I certify under penalty of perjury that the foregoing is true and correct.


  Date: June 24, 2025                                   /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                          Disbursements for Claim
Case: 18-01402         KENNY VELAZQUEZ
         MIDLAND MORTGAGE CO
                                                                             Sequence: 07
         999 N.W. GRAND BLVD
                                                                                Modify:
         SUITE 110
                                                                            Filed Date:
         OKLAHOMA CITY, OK 731
                                                                            Hold Code:
 Acct No: 6000



                                            Debt:        $55,284.69      Interest Paid:                 $0.00
        Amt Sched:               $0.00                                     Accrued Int:                  $0.00
         Amt Due:    $773.09                 Paid:       $55,284.69       Balance Due:                   $0.00

Claim name                         Type      Date         Check #     Principal    Interest       Total Reconciled
                                                                                        DisbDescrp
 5010        MIDLAND MORTGAGE CO
501-0 MIDLAND MORTGAGE CO                  04/14/2025     2046783      $773.09       $0.00        $773.09 04/21/2025
                                                                                          Payment for 4/2025
501-0 MIDLAND MORTGAGE CO                  03/18/2025      2045891     $773.09       $0.00        $773.09 03/27/2025
                                                                                          Payment for 3/2025
501-0 MIDLAND MORTGAGE CO                  02/19/2025     2044948      $773.09       $0.00        $773.09 02/27/2025
                                                                                          Payment for 2/2025
501-0 MIDLAND MORTGAGE CO                  01/15/2025     2043999      $773.09       $0.00        $773.09 02/04/2025
                                                                                          Payment for 1/2025
501-0 MIDLAND MORTGAGE CO                  12/17/2024     2043043      $773.09       $0.00        $773.09 12/26/2024
                                                                                          Payment for 12/2024
501-0 MIDLAND MORTGAGE CO                  11/19/2024     2042119      $773.09       $0.00        $773.09 11/29/2024
                                                                                          Payment for 11/2024
501-0 MIDLAND MORTGAGE CO                  10/23/2024      2041131     $773.09       $0.00        $773.09 10/30/2024
                                                                                          Payment for 10/2024
501-0 MIDLAND MORTGAGE CO                  09/17/2024     2040136      $773.09       $0.00        $773.09 09/25/2024
                                                                                          Payment for 9/2024
501-0 MIDLAND MORTGAGE CO                  08/07/2024     2039130      $773.09       $0.00        $773.09 08/14/2024
                                                                                          Payment for 8/2024
501-0 MIDLAND MORTGAGE CO                  07/10/2024     2038263      $773.09       $0.00        $773.09 07/19/2024
                                                                                          Payment for 7/2024
501-0 MIDLAND MORTGAGE CO                  06/18/2024     2037443      $705.41       $0.00        $705.41 06/27/2024
                                                                                          Payment for 6/2024
501-0 MIDLAND MORTGAGE CO                  05/22/2024     2036523      $705.41       $0.00        $705.41 05/31/2024
                                                                                          Payment for 5/2024
501-0 MIDLAND MORTGAGE CO                  04/17/2024     2035520      $705.41       $0.00        $705.41 04/24/2024
                                                                                          Payment for 4/2024
501-0 MIDLAND MORTGAGE CO                  03/14/2024     2034554      $705.41       $0.00        $705.41 03/29/2024
                                                                                          Payment for 3/2024


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Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
501-0 MIDLAND MORTGAGE CO               02/14/2024    2033592      $705.41      $0.00      $705.41 02/22/2024
                                                                                  Payment for 2/2024
501-0 MIDLAND MORTGAGE CO               01/12/2024    2032674      $705.41     $0.00      $705.41 01/19/2024
                                                                                  Payment for 1/2024
501-0 MIDLAND MORTGAGE CO               12/19/2023    2031772      $705.41     $0.00      $705.41 12/27/2023
                                                                                  Payment for 12/2023
501-0 MIDLAND MORTGAGE CO               11/15/2023    2030817      $705.41     $0.00      $705.41 11/22/2023
                                                                                  Payment for 11/2023
501-0 MIDLAND MORTGAGE CO               10/18/2023    2029865      $705.41     $0.00      $705.41 11/06/2023
                                                                                  Payment for 10/2023
501-0 MIDLAND MORTGAGE CO               09/19/2023    2028876      $705.41     $0.00      $705.41 10/10/2023
                                                                                  Payment for 9/2023
501-0 MIDLAND MORTGAGE CO               08/09/2023    2027858      $705.41     $0.00      $705.41 08/31/2023
                                                                                  Payment for 8/2023
501-0 MIDLAND MORTGAGE CO               07/11/2023    2026883      $705.41     $0.00      $705.41 07/26/2023
                                                                                  Payment for 7/2023
501-0 MIDLAND MORTGAGE CO               06/13/2023    2025966      $689.59     $0.00      $689.59 07/26/2023
                                                                                  Payment for 6/2023
501-0 MIDLAND MORTGAGE CO               05/16/2023    2025017      $689.59     $0.00      $689.59 06/21/2023
                                                                                  Payment for 5/2023
501-0 MIDLAND MORTGAGE CO               04/18/2023    2023999      $689.59     $0.00      $689.59 05/02/2023
                                                                                  Payment for 4/2023
501-0 MIDLAND MORTGAGE CO               03/15/2023    2022980      $689.59     $0.00      $689.59 04/06/2023
                                                                                  Payment for 3/2023
501-0 MIDLAND MORTGAGE CO               02/15/2023    2021972      $689.59     $0.00      $689.59 03/15/2023
                                                                                  Payment for 2/2023
501-0 MIDLAND MORTGAGE CO               01/18/2023    2020966      $689.59     $0.00      $689.59 03/13/2023
                                                                                  Payment for 1/2023
501-0 MIDLAND MORTGAGE CO               12/13/2022     2019971     $689.59     $0.00      $689.59 12/22/2022
                                                                                  Payment for 12/2022
501-0 MIDLAND MORTGAGE CO               11/16/2022    2019018      $689.59     $0.00      $689.59 12/08/2022
                                                                                  Payment for 11/2022
501-0 MIDLAND MORTGAGE CO               10/18/2022    2017972      $689.59     $0.00      $689.59 10/27/2022
                                                                                  Payment for 10/2022
501-0 MIDLAND MORTGAGE CO               10/18/2022    2017972      $689.59     $0.00      $689.59 10/27/2022
                                                                                  Payment for 9/2022
501-0 MIDLAND MORTGAGE CO               09/13/2022    2016924      $689.59     $0.00      $689.59 09/22/2022
                                                                                  Payment for 8/2022
501-0 MIDLAND MORTGAGE CO               07/13/2022    2014835      $689.59     $0.00      $689.59 07/25/2022
                                                                                  Payment for 7/2022

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Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
501-0 MIDLAND MORTGAGE CO               06/14/2022    2013874      $706.65      $0.00     $706.65 06/27/2022
                                                                                  Payment for 6/2022
501-0 MIDLAND MORTGAGE CO               05/17/2022    2012832      $706.65     $0.00      $706.65 05/26/2022
                                                                                  Payment for 5/2022
501-0 MIDLAND MORTGAGE CO               04/12/2022    2011760      $706.65     $0.00      $706.65 04/25/2022
                                                                                  Payment for 4/2022
501-0 MIDLAND MORTGAGE CO               03/16/2022    2010742      $706.65     $0.00      $706.65 03/24/2022
                                                                                  Payment for 3/2022
501-0 MIDLAND MORTGAGE CO               02/16/2022    2009764      $706.65     $0.00      $706.65 03/02/2022
                                                                                  Payment for 2/2022
501-0 MIDLAND MORTGAGE CO               01/19/2022    2008778      $706.65     $0.00      $706.65 02/01/2022
                                                                                  Payment for 1/2022
501-0 MIDLAND MORTGAGE CO               12/15/2021    2007774      $706.65     $0.00      $706.65 12/23/2021
                                                                                  Payment for 12/2021
501-0 MIDLAND MORTGAGE CO               11/16/2021    2006749      $706.65     $0.00      $706.65 11/23/2021
                                                                                  Payment for 11/2021
501-0 MIDLAND MORTGAGE CO               10/14/2021    2005716      $706.65     $0.00      $706.65 10/20/2021
                                                                                  Payment for 10/2021
501-0 MIDLAND MORTGAGE CO               10/14/2021    2005716      $706.65     $0.00      $706.65 10/20/2021
                                                                                  Payment for 9/2021
501-0 MIDLAND MORTGAGE CO               08/18/2021    2003663      $706.65     $0.00      $706.65 09/01/2021
                                                                                  Payment for 8/2021
501-0 MIDLAND MORTGAGE CO               07/14/2021    2002599      $706.65     $0.00      $706.65 07/30/2021
                                                                                  Payment for 7/2021
501-0 MIDLAND MORTGAGE CO               06/16/2021    2001622      $727.80     $0.00      $727.80 06/23/2021
                                                                                  Payment for 5/2021
501-0 MIDLAND MORTGAGE CO               06/16/2021    2001622      $727.80     $0.00      $727.80 06/23/2021
                                                                                  Payment for 6/2021
501-0 MIDLAND MORTGAGE CO               04/15/2021    1229233      $727.80     $0.00      $727.80 04/22/2021
                                                                                  Payment for 4/2021
501-0 MIDLAND MORTGAGE CO               03/17/2021     1228211     $727.80     $0.00      $727.80 03/25/2021
                                                                                  Payment for 3/2021
501-0 MIDLAND MORTGAGE CO               02/17/2021    1227203      $727.80     $0.00      $727.80 02/25/2021
                                                                                  Payment for 2/2021
501-0 MIDLAND MORTGAGE CO               01/19/2021    1226177      $727.80     $0.00      $727.80 02/05/2021
                                                                                  Payment for 1/2021
501-0 MIDLAND MORTGAGE CO               12/10/2020    1224390      $727.80     $0.00      $727.80 12/31/2020
                                                                                  Payment for 12/2020
501-0 MIDLAND MORTGAGE CO               12/10/2020    1224390      $727.80     $0.00      $727.80 12/31/2020
                                                                                  Payment for 11/2020

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Claim name                       Type     Date        Check #     Principal   Interest       Total Reconciled
                                                                                   DisbDescrp
501-0 MIDLAND MORTGAGE CO               10/15/2020    1222624      $727.80      $0.00     $727.80 10/27/2020
                                                                                  Payment for 10/2020
501-0 MIDLAND MORTGAGE CO               09/17/2020    1221620      $727.80     $0.00      $727.80 09/29/2020
                                                                                  Payment for 8/2020
501-0 MIDLAND MORTGAGE CO               09/17/2020    1221620      $727.80     $0.00      $727.80 09/29/2020
                                                                                  Payment for 9/2020
501-0 MIDLAND MORTGAGE CO               07/07/2020    1219524      $715.81     $0.00      $715.81 07/24/2020
                                                                                  Payment for 6/2020
501-0 MIDLAND MORTGAGE CO               07/07/2020    1219524      $727.80     $0.00      $727.80 07/24/2020
                                                                                  Payment for 7/2020
501-0 MIDLAND MORTGAGE CO               05/06/2020    1217530      $715.81     $0.00      $715.81 05/21/2020
                                                                                  Payment for 5/2020
501-0 MIDLAND MORTGAGE CO               04/14/2020    1216484      $715.81     $0.00      $715.81 04/30/2020
                                                                                  Payment for 4/2020
501-0 MIDLAND MORTGAGE CO               03/12/2020    1215197      $715.81     $0.00      $715.81 03/27/2020
                                                                                  Payment for 3/2020
501-0 MIDLAND MORTGAGE CO               02/13/2020    1213886      $715.81     $0.00      $715.81 02/27/2020
                                                                                  Payment for 2/2020
501-0 MIDLAND MORTGAGE CO               01/16/2020    1212537      $715.81     $0.00      $715.81 01/29/2020
                                                                                  Payment for 1/2020
501-0 MIDLAND MORTGAGE CO               12/12/2019    1211167      $715.81     $0.00      $715.81 12/19/2019
                                                                                  Payment for 12/2019
501-0 MIDLAND MORTGAGE CO               11/07/2019     1209821     $715.81     $0.00      $715.81 11/15/2019
                                                                                  Payment for 11/2019
501-0 MIDLAND MORTGAGE CO               10/10/2019    1208695      $715.81     $0.00      $715.81 10/22/2019
                                                                                  Payment for 10/2019
501-0 MIDLAND MORTGAGE CO               09/26/2019    1207514      $715.81     $0.00      $715.81 10/11/2019
                                                                                  Payment for 9/2019
501-0 MIDLAND MORTGAGE CO               08/07/2019    1206047      $715.81     $0.00      $715.81 08/27/2019
                                                                                  Payment for 8/2019
501-0 MIDLAND MORTGAGE CO               07/11/2019    1204687      $715.81     $0.00      $715.81 07/22/2019
                                                                                  Payment for 6/2019
501-0 MIDLAND MORTGAGE CO               07/11/2019    1204687      $715.81     $0.00      $715.81 07/22/2019
                                                                                  Payment for 7/2019
501-0 MIDLAND MORTGAGE CO               06/06/2019     1203291     $715.81     $0.00      $715.81 06/21/2019
                                                                                  Payment for 5/2019
501-0 MIDLAND MORTGAGE CO               05/09/2019    1201988      $715.81     $0.00      $715.81 05/20/2019
                                                                                  Payment for 4/2019
501-0 MIDLAND MORTGAGE CO               04/11/2019    1200639      $715.81     $0.00      $715.81 04/25/2019
                                                                                  Payment for 2/2019

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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
501-0 MIDLAND MORTGAGE CO               04/11/2019       1200639      $715.81      $0.00      $715.81 04/25/2019
                                                                                     Payment for 3/2019
501-0 MIDLAND MORTGAGE CO               02/07/2019       1198042      $715.81     $0.00      $715.81 02/28/2019
                                                                                     Payment for 1/2019
501-0 MIDLAND MORTGAGE CO               01/10/2019       1196898      $715.81     $0.00      $715.81 01/24/2019
                                                                                     Payment for 12/2018
                                                      Sub-totals: $55,284.69      $0.00 $55,284.69

                                                     Grand Total: $55,284.69      $0.00




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                                              Disbursements for Claim
Case: 18-01402           KENNY VELAZQUEZ
         MIDFIRST BANK
                                                                                 Sequence: 24
         BANKRUPTCY DEPARTMENT
                                                                                    Modify:
         999 NW GRAND BOULEVARD, #110
                                                                                Filed Date:
         OKLAHOMA CITY, OK 731
                                                                                Hold Code:
 Acct No: 30 W Queen - POST-ARREARS - 6000
         POST ARREARS - 30 WEST QUEEN STREET 3RD AP


                                                Debt:         $5,010.67      Interest Paid:              $0.00
        Amt Sched:               $80,629.00                                    Accrued Int:               $0.00
         Amt Due:        $0.00                   Paid:        $5,010.67       Balance Due:                $0.00

Claim name                             Type      Date         Check #     Principal    Interest       Total Reconciled
                                                                                            DisbDescrp
 5210        MIDFIRST BANK
521-0 MIDFIRST BANK                            12/19/2023     2031770        $9.97       $0.00       $9.97 12/27/2023


521-0 MIDFIRST BANK                            11/15/2023     2030815       $93.45       $0.00      $93.45 11/22/2023


521-0 MIDFIRST BANK                            10/18/2023     2029863       $98.85       $0.00      $98.85 11/06/2023


521-0 MIDFIRST BANK                            09/19/2023     2028874      $213.08       $0.00     $213.08 10/10/2023


521-0 MIDFIRST BANK                            08/09/2023     2027856      $104.25       $0.00     $104.25 08/31/2023


521-0 MIDFIRST BANK                            07/11/2023      2026881     $104.25       $0.00     $104.25 07/26/2023


521-0 MIDFIRST BANK                            06/13/2023     2025964       $98.24       $0.00      $98.24 07/20/2023


521-0 MIDFIRST BANK                            05/16/2023     2025015       $98.25       $0.00      $98.25 06/12/2023


521-0 MIDFIRST BANK                            04/18/2023     2023997       $98.24       $0.00      $98.24 05/02/2023


521-0 MIDFIRST BANK                            03/15/2023     2022979      $202.81       $0.00     $202.81 04/06/2023


521-0 MIDFIRST BANK                            02/15/2023     2021970       $98.24       $0.00      $98.24 03/16/2023


521-0 MIDFIRST BANK                            01/18/2023     2020964       $98.25       $0.00      $98.25 03/13/2023


521-0 MIDFIRST BANK                            12/13/2022     2019970       $98.25       $0.00      $98.25 12/22/2022


521-0 MIDFIRST BANK                            11/16/2022     2019016       $98.24       $0.00      $98.24 12/08/2022



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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
521-0 MIDFIRST BANK                     10/18/2022       2017970      $108.54      $0.00     $108.54 10/27/2022


521-0 MIDFIRST BANK                     07/13/2022       2014833       $96.45     $0.00        $96.45 07/25/2022


521-0 MIDFIRST BANK                     06/14/2022       2013872       $93.72     $0.00        $93.72 06/27/2022


521-0 MIDFIRST BANK                     05/17/2022       2012830      $197.38     $0.00      $197.38 05/26/2022


521-0 MIDFIRST BANK                     04/12/2022       2011758       $93.72     $0.00        $93.72 04/25/2022


521-0 MIDFIRST BANK                     03/16/2022       2010741       $93.71     $0.00        $93.71 03/24/2022


521-0 MIDFIRST BANK                     02/16/2022       2009763       $93.72     $0.00        $93.72 03/02/2022


521-0 MIDFIRST BANK                     01/19/2022       2008777       $51.29     $0.00        $51.29 02/01/2022


521-0 MIDFIRST BANK                     12/15/2021       2007773       $93.71     $0.00        $93.71 12/23/2021


521-0 MIDFIRST BANK                     11/16/2021       2006748       $93.72     $0.00        $93.72 11/24/2021


521-0 MIDFIRST BANK                     10/14/2021       2005715       $91.51     $0.00        $91.51 10/20/2021


521-0 MIDFIRST BANK                     08/18/2021       2003662      $182.37     $0.00     $182.37 09/01/2021


521-0 MIDFIRST BANK                     07/14/2021       2002598      $539.71     $0.00      $539.71 07/30/2021


521-0 MIDFIRST BANK                     06/16/2021       2001621      $303.10     $0.00     $303.10 06/23/2021


521-0 MIDFIRST BANK                     04/15/2021       1229232      $556.92     $0.00      $556.92 04/22/2021


521-0 MIDFIRST BANK                     03/17/2021       1228210      $806.73     $0.00      $806.73 03/25/2021


                                                      Sub-totals: $5,010.67       $0.00   $5,010.67

                                                     Grand Total: $5,010.67       $0.00




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                                              Disbursements for Claim
Case: 18-01402           KENNY VELAZQUEZ
         MIDFIRST BANK
                                                                                 Sequence: 24
         BANKRUPTCY DEPARTMENT
                                                                                    Modify:
         999 NW GRAND BOULEVARD, #110
                                                                                Filed Date:
         OKLAHOMA CITY, OK 731
                                                                                Hold Code:
 Acct No: 30 W Queen - PRE-ARREARS - 6000
         ARREARS - 30 WEST QUEEN STREET


                                                Debt:         $7,402.20      Interest Paid:              $0.00
        Amt Sched:               $80,629.00                                    Accrued Int:               $0.00
         Amt Due:        $0.00                   Paid:        $7,402.20       Balance Due:                $0.00

Claim name                             Type      Date         Check #     Principal    Interest       Total Reconciled
                                                                                            DisbDescrp
 5200        MIDFIRST BANK
520-0 MIDFIRST BANK                            12/19/2023      2031770      $14.72       $0.00      $14.72 12/27/2023


520-0 MIDFIRST BANK                            11/15/2023      2030815     $138.06       $0.00     $138.06 11/22/2023


520-0 MIDFIRST BANK                            10/18/2023      2029863     $146.03       $0.00     $146.03 11/06/2023


520-0 MIDFIRST BANK                            09/19/2023      2028874     $314.78       $0.00     $314.78 10/10/2023


520-0 MIDFIRST BANK                            08/09/2023      2027856     $154.00       $0.00     $154.00 08/31/2023


520-0 MIDFIRST BANK                            07/11/2023      2026881     $154.00       $0.00     $154.00 07/26/2023


520-0 MIDFIRST BANK                            06/13/2023      2025964     $145.14       $0.00     $145.14 07/20/2023


520-0 MIDFIRST BANK                            05/16/2023      2025015     $145.14       $0.00     $145.14 06/12/2023


520-0 MIDFIRST BANK                            04/18/2023      2023997     $145.13       $0.00     $145.13 05/02/2023


520-0 MIDFIRST BANK                            03/15/2023      2022979     $299.61       $0.00     $299.61 04/06/2023


520-0 MIDFIRST BANK                            02/15/2023      2021970     $145.14       $0.00     $145.14 03/16/2023


520-0 MIDFIRST BANK                            01/18/2023      2020964     $145.13       $0.00     $145.13 03/13/2023


520-0 MIDFIRST BANK                            12/13/2022      2019970     $145.14       $0.00     $145.14 12/22/2022


520-0 MIDFIRST BANK                            11/16/2022      2019016     $145.14       $0.00     $145.14 12/08/2022



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Claim name                       Type     Date       Check #     Principal   Interest       Total Reconciled
                                                                                  DisbDescrp
520-0 MIDFIRST BANK                     10/18/2022    2017970     $160.34      $0.00     $160.34 10/27/2022


520-0 MIDFIRST BANK                     07/13/2022    2014833     $142.50     $0.00     $142.50 07/25/2022


520-0 MIDFIRST BANK                     06/14/2022    2013872     $138.44     $0.00     $138.44 06/27/2022


520-0 MIDFIRST BANK                     05/17/2022    2012830     $291.59     $0.00      $291.59 05/26/2022


520-0 MIDFIRST BANK                     04/12/2022    2011758     $138.44     $0.00     $138.44 04/25/2022


520-0 MIDFIRST BANK                     03/16/2022    2010741     $138.44     $0.00     $138.44 03/24/2022


520-0 MIDFIRST BANK                     02/16/2022    2009763     $138.44     $0.00     $138.44 03/02/2022


520-0 MIDFIRST BANK                     01/19/2022    2008777      $75.78     $0.00        $75.78 02/01/2022


520-0 MIDFIRST BANK                     12/15/2021    2007773     $138.44     $0.00     $138.44 12/23/2021


520-0 MIDFIRST BANK                     11/16/2021    2006748     $138.44     $0.00     $138.44 11/24/2021


520-0 MIDFIRST BANK                     10/14/2021    2005715     $135.20     $0.00     $135.20 10/20/2021


520-0 MIDFIRST BANK                     08/18/2021    2003662     $269.42     $0.00      $269.42 09/01/2021


520-0 MIDFIRST BANK                     07/14/2021    2002598     $308.51     $0.00      $308.51 07/30/2021


520-0 MIDFIRST BANK                     02/17/2021    1227202     $232.39     $0.00      $232.39 02/25/2021


520-0 MIDFIRST BANK                     01/19/2021    1226176     $144.70     $0.00     $144.70 02/03/2021


520-0 MIDFIRST BANK                     12/10/2020    1224389      $55.57     $0.00        $55.57 12/31/2020


520-0 MIDFIRST BANK                     10/15/2020    1222623     $140.84     $0.00     $140.84 10/27/2020


520-0 MIDFIRST BANK                     09/17/2020    1221600      $98.90     $0.00        $98.90 10/05/2020


520-0 MIDFIRST BANK                     04/14/2020    1216463     $263.67     $0.00     $263.67 05/01/2020


520-0 MIDFIRST BANK                     03/12/2020    1215179     $204.27     $0.00     $204.27 03/27/2020


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Claim name                       Type     Date           Check #     Principal   Interest       Total Reconciled
                                                                                      DisbDescrp
520-0 MIDFIRST BANK                     02/13/2020       1213869      $148.13      $0.00     $148.13 02/28/2020


520-0 MIDFIRST BANK                     01/16/2020       1212519      $100.73     $0.00      $100.73 01/29/2020


520-0 MIDFIRST BANK                     12/12/2019       1211148      $270.36     $0.00      $270.36 12/19/2019


520-0 MIDFIRST BANK                     11/07/2019       1209805      $204.27     $0.00     $204.27 11/18/2019


520-0 MIDFIRST BANK                     10/10/2019       1208688       $55.54     $0.00        $55.54 10/22/2019


520-0 MIDFIRST BANK                     09/26/2019       1207494      $474.10     $0.00     $474.10 10/10/2019


520-0 MIDFIRST BANK                     08/07/2019       1206031      $203.40     $0.00     $203.40 08/26/2019


520-0 MIDFIRST BANK                     07/11/2019       1204670      $354.19     $0.00      $354.19 07/22/2019


                                                      Sub-totals: $7,402.20       $0.00   $7,402.20

                                                     Grand Total: $7,402.20       $0.00




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